            Case 3:19-cv-07071-SI          Document 452    Filed 03/27/25    Page 1 of 2



 1   TUCKER ELLIS LLP
     David J. Steele SBN 209797
 2   david.steele@tuckerellis.com
     Howard A. Kroll SBN 100981
 3   howard.kroll@tuckerellis.com
     Steven E. Lauridsen SBN 246364
 4   steven.lauridsen@tuckerellis.com
     515 South Flower Street
 5   Forty-Second Floor
     Los Angeles, CA 90071
 6   Telephone:        213.430.3400
     Facsimile:        213.430.3409
 7
     Attorneys for Plaintiffs,
 8   META PLATFORMS, INC. (fka FACEBOOK, INC.)
     and INSTAGRAM, LLC
 9

10                                      UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12   FACEBOOK, INC. and INSTAGRAM, LLC,             Case No. 3:19-cv-07071-SI
13                        Plaintiffs,               AFFIDAVIT AND REQUEST FOR ISSUANCE
                                                    OF WRIT OF EXECUTION
14          v.
15   ONLINENIC INC.; DOMAIN ID SHIELD               Hon. Susan Illston
     SERVICE CO., LIMITED; and XIAMEN
16   35.COM INTERNET TECHNOLOGY CO.,
     LTD.,
17
                          Defendants.
18
19

20

21

22

23

24

25

26

27

28

                                                       AFFIDAVIT AND REQUEST FOR WRIT OF EXECUTION
                                                                               Case No. 3:19-cv-07071-SI
             Case 3:19-cv-07071-SI         Document 452          Filed 03/27/25      Page 2 of 2



 1          State of California, County of Orange
 2          I, David J. Steele, hereby state under penalty of perjury that,
 3          1.      Judgment for $5,409,806.14 was entered on February 14, 2025 on the docket of the
 4   above-entitled action in the United States District Court, Northern District of California in favor of Meta
 5   Platforms, Inc. f/k/a Facebook, Inc. and Instagram, LLC as Judgment Creditors and against OnlineNIC
 6   Inc., Domain ID Shield Service Co., Ltd., and Leascend Technology Co., Ltd. f/k/a Xiamen 35.com
 7   Internet Technology Co., Ltd. as Judgment Debtors, and the Clerk taxed costs as awarded in the Judgment
 8   pursuant to Fed. R. Civ. P. 54(d)(1) in the amount of $51,045.16 on March 3, 2025, bringing the total
 9   Judgment amount to $5,460,851.30.
10          2.      I am the attorney for said Judgment Creditors and request issuance of a Writ of Execution
11   on the Judgment.
12          3.      ACCRUED since the entry of judgment in the Northern District of California are the
13   following sums:
14                  $25,763.17 accrued interest, computed at 4.20% per annum
15                  $0.00 accrued post-judgment costs
16   No payments or partial satisfaction have been made.
17   I declare under penalty of perjury that the foregoing is true and correct. Executed at Brea, State of
18   California, this 27th date of March, 2025.
19

20

21                                                                    /s/David J. Steele
22

23

24

25

26

27

28
                                                          1
                                                              AFFIDAVIT AND REQUEST FOR WRIT OF EXECUTION
                                                                                      Case No. 3:19-cv-07071-SI
